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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION

UNITED STATES OF AMERICA                                                     PLAINTIFF

v.                         Case No. 4:15-cr-00095-01-KGB

TERRANCE GORDON                                                            DEFENDANT

                                         ORDER

      Before the Court is Arkansas Federal Public Defender Molly Sullivan’s motion to

withdraw as counsel of record for defendant Terrance Gordon (Dkt. No. 53). For good

cause shown, Ms. Sullivan’s motion is granted. Ms. Sullivan is no longer assigned as

counsel of record for Mr. Gordon. Criminal Justice Act Panel Member Lott Rolfe, IV is

hereby appointed as counsel for Mr. Gordon.

      It is so ordered this 13th day of April, 2016.



                                          _________________________________
                                          Kristine G. Baker
                                          United States District Judge
